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Plaintiff-Appellee Atlas Data Privacy Corporation, as the purported assignee of more than 14,000 "covered persons"
under Daniel's Law, N.J.S.A. 56:8-166.1, et seq., as well as Plaintiffs-Appellees Jane Doe-1, Jane Doe-2, Patrick
Colligan, and Peter Andreyev have asserted claims against Defendant-Appellants Zillow, Inc. and Zillow Group, Inc.
 ("Appellants") alleging that Appellants violated Daniel's Law by allegedly failing to honor takedown notices Atlas sent for
approximately 14,000 covered persons. Appellees seek injunctive relief, actual damages not less than the $1,000
liquidated damages for each violation, punitive damages, and attorneys' fees and litigation costs. Assuming each
covered person or individual plaintiff asserts just one violation, the amount in controversy exceeds $14,000,000.

 Appellants joined in a Consolidated Motion to Dismiss that sought dismissal of the complaint on the basis that Daniel's
Law is facially unconstitutional because it violates the First Amendment. On November 26, 2024, the District of New
Jersey entered an Order and Memorandum denying the Consolidated Motion to Dismiss. Appellants are seeking appeal
of the November 26, 2024 Order.
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November 26, 2024 Order denying the consolidated motion to dismiss (ECF No. 47)
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November 26, 2024 Memorandum setting forth reasons for denying consolidated motion to dismiss
(ECF No. 46)
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December 2, 2024 Order certifying the November 26, 2024 Order for immediate appeal under 28
U.S.C. 1292(b) (ECF No. 48)
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New Jersey’s Daniel’s Law provides that, upon receipt of a written notice provided by a covered person, “any person or business association” shall
not “disclose” or “otherwise make available” the covered person’s home address or unpublished home phone number (the “Protected Information”).
 Daniel’s Law defines the term “disclose” to encompass any transfer of Protected Information, including transfers between businesses, or even
within the same business. It also contains a catchall phrase that prevents any person or business association from “otherwise mak[ing] available”
any Protected Information.
Daniel’s Law is a strict liability statute that imposes mandatory “liquidated damages” of $1,000 per violation triggered by a short and arbitrary
 compliance deadline, without any consideration of fault or extenuating circumstances. At the same time, the statute contains broad-reaching
exceptions—most significantly for disclosure of records by public agencies—that undermine the very purpose the statute was intended to serve.

 Appellants are businesses that allegedly were sent thousands upon thousands of written notices to suppress Protected Information, who were then
sued by Appellants Atlas Data Privacy Corporation ("Atlas") and certain individuals alleging violations of Daniel's Law. The Appellants moved to
dismiss   the Complaints on the basis that Daniel's Law is facially unconstitutional in violation of the First Amendment. On November 26, 2025, the
 District of New Jersey denied the Motion to Dismiss. Even though it found that Daniel's Law is a content-based restriction on non-commercial
speech with no express mens rea guardrails, it nevertheless created a blanket privacy exception to strict scrutiny and adopted and rewrote Daniel's
Law  to add a negligence requirement, the absence of which the court acknowledged would have invalidated Daniel's Law. Recognizing the novel
 and far-reaching issues at stake, the district court certified its order for immediate appeal under 28 U.S.C. 1292(b) by Order dated December 2,
2024.
Appellants filed their Joint Petition for Leave to Appeal on December 12, 2024, and this Court granted the Petition by way of Order and Notice
dated March 18, 2025. See Case No. 24-8047, Doc. Nos. 22-1 and 22.-2
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 Whether the District Court erred in denying Appellant's Motion to Dismiss on the basis that New
Jersey Daniel's Law facially violates the First Amendment?
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/s/ Samantha L. Southall
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